             Case 5:18-cv-00911-XR Document 51 Filed 07/28/20 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

SADIE HACKLER, on behalf of herself          §
and all others similarly situated,           §
                                             §
Plaintiff,                                   §
                                             §
V.                                           §         Case No. 5:18-CV-00911-XR
                                             §
TOLTECA ENTERPRISES, INC. d/b/a              §
PHOENIX RECOVERY GROUP,                      §
                                             §
Defendant.                                   §


                      ADVISORY TO THE COURT REGARDING
               THE CLASS MEMBERS AND REQUESTS FOR EXCLUSION


Plaintiff and Class Representative Sadie Hackler, by and through her counsel of record,

and pursuant to the Court’s Order of May 28, 2020 (ECF No. 47), advises the Court of

the following:

                 1. Advisory as to the status of the list of class members.

        Defendant has produced two lists of class members. The first was produced on

or about June 24, 2020 and only included names. There were approximately 13,800

names in the list. Plaintiffs’ counsel urged and re-urged the defendant to produce a list

that included names and addresses.

        On or about July 14, 2020 Defendant produced a second list. The second list

contained what appears to be the same names. It also included addresses. Some

names had as many as four addresses, in total the spreadsheet contained

approximately 14,700 entries including names and addresses. Defend is unable or

unwilling to further narrow the list.

AVISORY TO THE COURT                                                           Page 1|2
          Case 5:18-cv-00911-XR Document 51 Filed 07/28/20 Page 2 of 2




       Defendant had a deadline to review the list of class members and certified to the

Court that is complete and correct according to the its records. Defendant made no

such certification to the Court.

2. Advisory as to the deadline by which requests for exclusion must be received.

      As to the date by which a class member’s request for exclusion must be received

Plaintiff believes Friday, October 30, 2020 is reasonable. It is more than 60 days from

the deadline for class notice to be mailed (August 24, 2020) and will provide an

adequate amount of time for class members to seek advice from counsel and/or

exclude themselves from the class.




                                            Respectfully submitted,
                                            LAW OFFICE OF BILL CLANTON, P.C.
                                            926 Chulie
                                            San Antonio, TX 78216
                                            (210) 226 0800 Telephone
                                            (210) 338 8660 Facsimile

                                            BINGHAM & LEA, P.C.
                                            319 Maverick Street
                                            San Antonio, Texas 78212
                                            (210) 224-1819 Telephone
                                            (210) 224-0141 Facsimile

                                            BY: /s/William M. Clanton
                                               BENJAMIN R. BINGHAM
                                               State Bar No. 02322350
                                               ben@binghamandlea.com
                                               WILLIAM M. CLANTON
                                               State Bar No. 24049436
                                               bill@clantonlawoffice.com
                                            Counsel for Plaintiff




AVISORY TO THE COURT                                                          Page 2|2
